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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                             WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                               Civil No. 5:10-cv-0013-DCB
                                                Criminal No. 5:07-cr-017-DCB

CHARLES EDWARD PRICE

                                       ORDER

       Before   the   court     is   defendant-petitioner          Charles     Edward

Price’s Rule 60(d) Motion for Relief from Judgment. Petitioner has

not made it clear why the motion is filed pursuant to Rule 60(d),

but the court construes it either as a Rule 60(b) motion, or as

alleging fraud on the court pursuant to Rule 60(d)(3). Regardless

of    its   procedural    basis,      petitioner       challenges       the   court’s

dismissal of his § 2255 motion to vacate by rehashing arguments

this    court   has   already     rejected.     More    to   the   point,     he   has

identified no fraud or other defect in his habeas proceedings that

entitles him to relief pursuant to either Rule 60(b) or 60(d). The

court therefore deems petitioner’s motion to be an unauthorized

successive writ. See Gonzalez v. Crosby, 545 U.S. 524, 529 (2005);

see Hughes v. Thaler, 2012 WL 5456104, at *3 n.1 (Nov. 7, 2012)

(unpublished) (indicating that Gonzalez v. Crosby applies to both

Rule 60(b) and Rule 60(d) motions).

       Accordingly, IT IS HEREBY ORDERED that Petitioner’s Rule 60(d)

Motion for      Relief   from     Judgment     [docket no.       383]    is   DENIED.

Further, a certificate of appealability is required for appellate
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review of this determination, see Buck v. Thaler, 452 F. App’x 423,

429 (2011). But because there are no debatable issues for appeal,

see Slack v. McDaniel, 529 U.S. 473, 484 (2000), this court

declines to issue a certificate of appealability pursuant to 28

U.S.C. § 2253(c).

     So ORDERED, this the 15th day of August, 2013.



                                  /s/ David Bramlette
                                 UNITED STATES DISTRICT JUDGE




                                   2
